Case 2:15-cv-10998 Document 244 Filed 07/31/17 Page 1 of 1 PagelD #: 367

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON HUNTINGTON
Suite 2400 Room 101]
300 Virginia Street, East 845 Fifth Avenue
Charleston, WV 25301 Huntington, WV 25701

304/529-5588
P. O, Box 2546 BECKLEY
Charleston, WV 25329 Room 119
304/347-3000

110 North Heber Street
Beckley, WV 25801
304/253-7481
BLUEFIELD
Room 2303

601 Federal Street
Bluefield, WV 24701
304/327-9798

www.wvsd.uscourts.gov

TERESA L. DEPPNER

Reply to: Charleston Clerk Of Court

July 31, 2017

Mr. Stephen M. Hopkins, #11126-088
FCI Ray Brook
P.O. Box 900
Ray Brook, NY 12977
Re: Hopkins v. United States of America; Case No. 2:15-cv-10998
Dear Mr. Hopkins:

I am in receipt of your undated letter requesting a copy of the docket sheet in the referenced
matter. Enclosed herewith is a copy of the docket sheet.

Sincerely,

TERESA L. DEPPNER, Clerk

wv Nabe Nh

Deputy Clerk

Enclosure
